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                                                                        1
 1           IN THE SUPREME COURT OF THE UNITED STATES

 2    ­ ­ ­ ­ ­ ­ ­ ­ ­ ­ ­ ­ ­ ­ ­ ­ ­ x

 3    ROBERT F. McDONNELL,              :

 4                Petitioner            :  No. 15­474

 5           v.                         :

 6    UNITED STATES.                    :

 7    ­ ­ ­ ­ ­ ­ ­ ­ ­ ­ ­ ­ ­ ­ ­ ­ ­ x

 8                           Washington, D.C.

 9                           Wednesday, April 27, 2016

10

11                  The above­entitled matter came on for oral

12    argument before the Supreme Court of the United States

13    at 10:02 a.m.

14    APPEARANCES:

15    NOEL J. FRANCISCO, ESQ., Washington, D.C.; on behalf

16       of Petitioner.

17    MICHAEL R. DREEBEN, ESQ., Deputy Solicitor General,

18       Department of Justice, Washington, D.C.; on behalf of

19       Respondent.

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                                                                        2
 1                         C O N T E N T S

 2    ORAL ARGUMENT OF                                  PAGE

 3    NOEL J. FRANCISCO, ESQ.

 4       On behalf of the Petitioner                       3

 5    ORAL ARGUMENT OF

 6    MICHAEL R. DREEBEN, ESQ.

 7       On behalf of the Respondent                      28

 8    REBUTTAL ARGUMENT OF

 9    NOEL J. FRANCISCO, ESQ.

10       On behalf of the Petitioner                      56

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                                                                        3
 1                      P R O C E E D I N G S

 2                                               (10:02 a.m.)

 3                CHIEF JUSTICE ROBERTS:  We'll hear argument

 4    this morning in Case 15­474, McDonnell v. United States.

 5                Mr. Francisco.

 6               ORAL ARGUMENT OF NOEL J. FRANCISCO

 7                  ON BEHALF OF THE PETITIONER

 8                MR. FRANCISCO:  Mr. Chief Justice, and may

 9    it please the Court:

10                The government argues that in quid pro quo

11    bribery, "official action" encompasses anything within

12    the range of official duties.  In order to reach that

13    conclusion, it asks that you disregard a 9­0 decision of

14    this Court.

15                The government is wrong.  In order to engage

16    in "official action," an official must either make a

17    government decision or urge someone else to do so.  The

18    line is between access to decision­makers on the one

19    hand and trying to influence those decisions on the

20    other.

21                JUSTICE KENNEDY:  And that's the Sun­Diamond

22    case, the 9­0 case that you refer to.

23                MR. FRANCISCO:  Yes, Your Honor, the

24    Sun­Diamond case, the 9­0 case.  And I think what

25    Sun­Diamond confirms is that when an official simply


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                                                                        4
 1    refers someone to another official, an independent

 2    decision­maker for an objective decision, he hasn't

 3    crossed that line into prohibited "official action."

 4                JUSTICE KENNEDY:  I take it all parties

 5    concede that the act of the university official to

 6    undertake or not to undertake a research study would be

 7    an "official action."

 8                MR. FRANCISCO:  Yes, Your Honor.  And the

 9    question is:  Did the Governor cross the line into

10    influencing officials to undertake that action and was

11    the jury properly instructed?

12                JUSTICE KENNEDY:  Can you tell me the

13    posture of the case with reference to under Virginia

14    law, the government ­­ the Governor's authority or lack

15    of authority to tell the university, you will engage in

16    this research or you will not engage?

17                MR. FRANCISCO:  Sure, Your Honor.  He ­­

18                JUSTICE KENNEDY:  What is the state of the

19    law, and do ­­ do the parties agree on this point?

20                MR. FRANCISCO:  Your Honor, I think that the

21    parties agree that the Governor at least had a bully

22    pulpit authority, but he had very little authority to

23    actually direct any university researcher to do

24    anything.  And here I think one of the critical ­­ there

25    are two critical questions:  One, was the jury told that


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                                                                        5
 1    it even had to find that he tried to do that and here it

 2    wasn't; and, two, did he in fact do that.  And we would

 3    assert that he clearly didn't.

 4                JUSTICE GINSBURG:  Would it have made a

 5    difference if the medical faculties had agreed to the

 6    testing?

 7                MR. FRANCISCO:  Your Honor, if they had

 8    agreed to the testing, I still don't think it would have

 9    made a difference in terms of whether Governor McDonnell

10    tried to influence their decision on that, because he

11    didn't.  And it still wouldn't have made a ­­ a

12    difference on the jury instructions because the jury

13    still wasn't instructed that it had to find that

14    Governor McDonnell tried to influence a particular

15    governmental decision, because it wasn't so instructed.

16                JUSTICE KAGAN:  Mr. Francisco, could I

17    ask ­­ the line you're drawing between exercising

18    influence and providing access, just to sort of test

19    that with a hypothetical, suppose that somebody knew

20    that there was a ­­ a contractor who was going to award

21    a very large contract to one of two or three firms that

22    the ­­ that he was meeting with.  And ­­ and a company

23    paid to make sure that they were on the meet list, to be

24    one of those two or three firms, in other words,

25    bribed ­­


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                                                                        6
 1                MR. FRANCISCO:  Sure.

 2                JUSTICE KAGAN:  ­­ an official in order to

 3    become one of those two or three firms from which that

 4    was the pool from which ­­

 5                MR. FRANCISCO:  Right.

 6                JUSTICE KAGAN:  ­­ this billion­dollar

 7    contract would emerge, would that be sufficient?

 8                MR. FRANCISCO:  Your Honor, I think that

 9    probably would be "official action" because there the

10    only way you can even get a decision in your favor is by

11    being one of three people on that list.  So being on

12    that list is a prerequisite to getting a decision.

13    Being denied ­­ denied on that list is a denial of the

14    decision, and that's an official governmental action.

15                Here the jury wasn't instructed on any of

16    this.  They didn't have to find that Governor McDonnell

17    tried to influence anything.  Indeed, it would have been

18    required to convict under these instructions if Governor

19    McDonnell had called up a staff member and said, I'd

20    like to ­­ you to meet with this fellow, Johnnie

21    Williams.  I don't really trust him.  His product is a

22    little hinky, but you're the expert.  So meet with the

23    guy and exercise your complete and unfettered judgment.

24                JUSTICE KAGAN:  Can I ­­

25                JUSTICE ALITO:  Let me ­­ let me just change


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                                                                        7
 1    the hypothetical a little bit.  Suppose that a Governor

 2    is going to make a ­­ eventually going to make a

 3    decision that will help either A or B and hurt either A

 4    or B, and the Governor says, you know, I'm going to have

 5    a preliminary discussion about this with members of my

 6    staff.  We're not going to come to any decision, but

 7    we're going to talk about it.  And whichever of you pays

 8    the most money will be able to sit in on this staff

 9    meeting.  What about that?

10                MR. FRANCISCO:  Sure.  Well, Your Honor, I

11    think I'd want to know, are there facts suggesting that

12    it really isn't just a payment to sit in on the staff

13    meeting?  It's a payment to try to influence the

14    meeting?

15                JUSTICE ALITO:  Just a payment to sit in.

16                MR. FRANCISCO:  To sit on the ­­ I think it

17    would violate a whole lot of other laws, but I don't

18    think, unless there was any kind of indicia that you

19    were trying to influence the outcome, you would cross

20    that line into prohibited "official action" corruption.

21                After all, these laws are not meant to be

22    comprehensive codes of ethical conduct as this Court

23    said in Sun­Diamond.  They're meant to target the worst

24    form of ethical misconduct, the corruption of official

25    decision­making.


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                                                                        8
 1                JUSTICE ALITO:  What if it's not just

 2    sitting in?  Maybe I wasn't ­­ I should sharpen this.

 3    Supposed the party is allowed to speak and present its

 4    point of view.

 5                MR. FRANCISCO:  Your Honor, again, the more

 6    facts that you put on to suggest that it is more of an

 7    attempt to influence the decision, it's not just a

 8    meeting.  I think the more likely you are to get to that

 9    "official act" ­­

10                JUSTICE SOTOMAYOR:  So tell me, what do we

11    do with the evidence in the case that the university

12    individuals who were assessing whether or not to do

13    these studies themselves felt pressured?  There is both

14    testimony and documents in which the pros and cons of

15    accepting these studies was discussed.

16                MR. FRANCISCO:  Right.

17                JUSTICE SOTOMAYOR:  And in the pro and con,

18    it was, the Governor really wants us to do this.

19                MR. FRANCISCO:  I ­­

20                JUSTICE SOTOMAYOR:  The Governor is

21    pressuring us to do this.  We just don't think it's a

22    good idea.  They were honorable people, obviously.  But

23    the point is, what do we do with the fact that they

24    perceived that he was trying to influence them?

25                MR. FRANCISCO:  I have two responses, Your


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                                                                        9
 1    Honor, a legal one and a factual one.  Legally, you

 2    still need to instruct the jury that it had to find that

 3    Governor McDonnell tried to actually influence a

 4    government decision.  And here it wasn't instructed, so

 5    they could have completely agreed ­­

 6                JUSTICE SOTOMAYOR:  But why?  Isn't this ­­

 7    I thought that this crime was taking money knowing that

 8    it was being paid to influence an "official act."  So

 9    aren't all of these examples of "official acts" whether

10    they are or they aren't irrelevant?  The question is,

11    what was his intent at the moment he took the money?

12    And why couldn't ­­

13                MR. FRANCISCO:  Yeah.

14                JUSTICE SOTOMAYOR:  ­­ a jury infer at that

15    moment that he took it with the intent to commit an

16    "official act" the way Mr. Williams wanted it committed?

17                MR. FRANCISCO:  So again, Your Honor, two

18    responses.  Even assuming that the jury could have

19    inferred it, you still need to tell them what an

20    "official act" is, that an "official act" is an attempt

21    to influence a governmental decision.

22                JUSTICE SOTOMAYOR:  Well ­­

23                MR. FRANCISCO:  Understand ­­

24                JUSTICE SOTOMAYOR:  ­­ to study these

25    dietary supplements.


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                                                                         10
  1               MR. FRANCISCO:  Well, to ­­ to actually, you

  2   know, conduct tobacco commission­funded State studies,

  3   but you still need to tell them what that is.  But I'll

  4   get directly to your question.  Why is it that the

  5   actual "official acts" are relevant?  And that's because

  6   both the district court and the courts of appeals'

  7   opinions made clear.

  8               Here in this case, the corrupt agreement

  9   turned entirely upon, as the district court case said.

10    It hinged upon whether the five specific acts were, in

11    fact, "official acts," because in the absence of any

12    direct evidence of a corrupt agreement, the government's

13    argument was that you could infer one from the pattern

14    of actual "official acts" on the one hand and the

15    pattern of gifts and loans on the other and the temporal

16    connection between the two.

17                JUSTICE KENNEDY:  And so is it your position

18    at page 60 of the supplemental Joint Appendix ­­ the

19    instructions aren't numbered, which makes it a little

20    hard, but the judge instructs the jury that "official

21    actions" are set forth in the five paragraphs of the

22    indictment.  And is it your position that at least some

23    of those are not "official acts"?

24                MR. FRANCISCO:  Yes, Your Honor, and

25    certainly the five things that were proved in this case


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                                                                         11
  1   are not "official acts."  And likewise, I don't think

  2   any of those things, as they actually came into

  3   evidence, demonstrated "official acts" because in none

  4   of them did Governor McDonnell cross that line in trying

  5   to influence the outcome of any particular decision.

  6   And just as critically, the jury was never told it had

  7   to find that.  So the jury in this case, Justice

  8   Sotomayor, could have completely agreed with our version

  9   of the facts.  It could have agreed that as we argued

10    very vigorously that the most that Governor McDonnell

11    did here was refer Johnnie ­­

12                JUSTICE SOTOMAYOR:  The matter ­­

13                JUSTICE KENNEDY:  Well, this gets back

14    somewhat to Justice Alito's hypothetical about arranging

15    the meeting, and we ­­ and we can up the ante to see

16    how ­­ how close the meeting came to be an ­­ an

17    "official act."  But I ­­ I take it that at some point

18    your position is that a governmental ­­ that an

19    "official act" must be the exercise of governmental

20    power.  Is that your position?

21                MR. FRANCISCO:  Well, Your Honor, it's

22    either making a decision on ­­ on an exercise of

23    governmental power, trying to influence it, as in the

24    Birdsall case, where the defendants there were trying to

25    persuade the grant of clemency.


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                                                                         12
  1               But if you're simply setting up a meeting so

  2   that somebody can appeal to the independent judgment of

  3   an independent decisionmaker and you're not trying to

  4   put your thumb on the scale of the outcome of that

  5   meeting, then that simple referral can't possibly be

  6   official action.  After all, government officials refer

  7   friends and benefactors to staff members all the time in

  8   order to avoid taking official action.

  9               JUSTICE GINSBURG:  Do you ­­ do you concede

10    that there is sufficient evidence in this record ­­

11    let's say we accept your argument about the charge being

12    insufficient.  But this could go back, and a jury could

13    be asked:  Did the Governor try to influence a decision

14    on the part of the medical faculties?

15                MR. FRANCISCO:  Your Honor, we don't concede

16    there was sufficient evidence.  But regardless, we ­­ we

17    also argue that the jury was improperly instructed on

18    this, which, Justice Sotomayor, goes to the point, I

19    think, you were making.  If the jury was improperly

20    instructed, then you don't actually assume all of the

21    evidence in favor of the government.  The question then

22    becomes:  Could a ­­ would a properly­instructed juror

23    have been required to convict?

24                Here, even if the jury completely agreed

25    with us, and they very well may have, under these


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                                                                         13
  1   erroneous instructions they still would have been

  2   required to convict, because under these instructions,

  3   simply referring somebody to a meeting without trying to

  4   influence the outcome of that meeting constitutes

  5   official governmental action.

  6               CHIEF JUSTICE ROBERTS:  Well, suppose

  7   arranging a meeting could be official government action,

  8   if that were your job.  In other words, you're not just

  9   a secretary, but your job was to manage the Governor's

10    schedule.  You decided who met with him, you decided

11    when, and that ­­ that's your job.  That's ­­ so

12    anything that individual does, I suppose, would be an

13    official act.

14                MR. FRANCISCO:  I think that's possible,

15    Chief Justice.  Of course, in this case we don't have

16    anything like that.  We simply have referrals to

17    meetings with other officials so that, at best, the

18    alleged bribe payor here, Jonnie Williams, can try to

19    persuade them to his cause.

20                JUSTICE KAGAN:  Well, can I follow up on

21    that?  Because what you just suggested, right, is that

22    you could ­­ suppose that there were a scheduler for a

23    Governor or for the President or whatever, and that

24    scheduler was selling meetings.  So you would think

25    that's part of her job?  And if I just understood you


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                                                                         14
  1   correctly, that falls within the statute?

  2               MR. FRANCISCO:  No, Your Honor.  I think

  3   that would be a very close case.  That ­­ that would be

  4   a very close case, because at the end of the day, if

  5   you're not actually making a governmental decision or

  6   influencing the outcome of an actual governmental

  7   decision, I think you ­­ and Chief Justice, you might

  8   actually be violating a lot of other laws, including the

  9   separate provision in Section 201 that prohibits you

10    from undertaking any act in violation of your official

11    duties in exchange for money, or 5 U.S.C. 7353, which

12    prohibits you from ­­ from taking anything from anyone

13    whose interests could be affected by the performance or

14    nonperformance of your duties.

15                But I think that the line has to be, and the

16    only line that comes out through the cases is, you're

17    actually either making a decision on because of the

18    government, or you're urging someone else to do so.

19    You're trying to pushing them in a certain direction.

20                JUSTICE BREYER:  It seems to me when you say

21    "urging" ­­ now, wait.  See, I can go back to a lot of

22    different commission, the Brown Commission, the Senate

23    S1, the language of the statute, and I read "official

24    action," something quite similar to the statute here, "A

25    decision, opinion, recommendation, judgment, vote, or


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                                                                         15
  1   other conduct" ­­ perhaps other similar conduct ­­

  2   "involving an exercise of discretion."

  3               So in this case, the official action we're

  4   talking about is giving money to a group of people in

  5   the university to conduct a study.

  6               Now, the Governor didn't do that.  But a

  7   person who tries to influence an official action and is

  8   also in the government is also guilty.  But wait.

  9   That's the Indian case.

10                MR. FRANCISCO:  Yes.  You're correct.

11                JUSTICE BREYER:  But wait.  The word

12    "influence" is too broad, because every day of the week

13    politicians write on behalf of constituents letters to

14    different parts of the government, saying, will you

15    please look at the case of Mrs. So­and­so who was

16    evicted last week?  And that's so common, you can't pick

17    that up.

18                But then you use the word "urge."  That's

19    not exactly a legal word.  And what I'm looking for is a

20    set of words that will describe in both sides' positions

21    what we should write as the words that describe the

22    criminal activity involved in talking to or influencing

23    the person who does create the official act, like give a

24    pardon.

25                MR. FRANCISCO:  Right.


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                                                                         16
  1               JUSTICE BREYER:  Like award a contract, like

  2   vote, like ­­ et cetera.  Now, those are the words that

  3   I can't find, and I'd appreciate your opinion.

  4               MR. FRANCISCO:  Sure, Your Honor.  And I

  5   think that the answer is that what district courts have

  6   to do is understand the general rule, which I think at

  7   some level has to be an attempt to influence, and then

  8   flesh it out in a way that's appropriate to the facts of

  9   the case.

10                JUSTICE BREYER:  You want to use "attempt to

11    influence"?  My goodness.  Letters go by the dozens over

12    to the secretary of HUD, to the secretary ­­

13                MR. FRANCISCO:  Right.

14                JUSTICE BREYER:  ­­ of ­­ of HHS, to the

15    secretary or the assistant secretaries, and they say, my

16    Constituent Smith has a matter before you that has been

17    pending for 18 months; we would appreciate it if you

18    would review that and take action.  And then the elected

19    official says to Smith, I did my best on this.  And

20    Smith thinks, good, he's used his influence.

21                MR. FRANCISCO:  Right.

22                JUSTICE BREYER:  A crime?  My goodness.

23                MR. FRANCISCO:  Absolutely not, Your Honor.

24                JUSTICE BREYER:  All right.  Fine.

25                MR. FRANCISCO:  Absolutely not.


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                                                                         17
  1               JUSTICE BREYER:  You say "absolutely not."

  2   That's what I thought that you would say.

  3               MR. FRANCISCO:  And I think that ­­

  4               JUSTICE BREYER:  So I want to know ­­ but

  5   the words you used were "attempt to influence."  And so

  6   ­­ though I don't think that's the right word, and I

  7   want to know what the right words are ­­

  8               MR. FRANCISCO:  Sure.

  9               JUSTICE BREYER:  ­­ in the instruction that

10    the judge is going to give.  Not in your case ­­

11                MR. FRANCISCO:  Um­hmm.

12                JUSTICE BREYER:  ­­ but in general.

13                MR. FRANCISCO:  Well, can I give you an

14    example from another case that, although I do think

15    instructions are generally tailored to the case, an

16    example ­­

17                JUSTICE BREYER:  Of course they are.  But

18    you have to have the standard that will distinguish the

19    urger ­­

20                MR. FRANCISCO:  Sure.

21                JUSTICE BREYER:  ­­ from the one who does it

22    criminally and the one who doesn't.

23                MR. FRANCISCO:  And in the Ring case, I

24    thought that Judge Huvelle had some very useful

25    instructions ­­


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                                                                         18
  1               JUSTICE BREYER:  Mm­hmm.

  2               MR. FRANCISCO:  ­­ where she wrote ­­ and

  3   this is at page 1083 of the Joint Appendix ­­

  4   "Therefore, 'official action' includes the exercise of

  5   both formal official influence, such as the

  6   legislature's vote on legislation, and informal official

  7   influence, such as a legislature's behind­the­scenes

  8   influence on other public officials in the legislative

  9   or executive branches."

10                JUSTICE BREYER:  Well, there we have it.

11    There we have it.  All these letters going over, saying,

12    please look at Mrs. Smith's eviction notice.

13                MR. FRANCISCO:  And ­­

14                JUSTICE BREYER:  Mrs. Smith, who, by the

15    way, took me to lunch last week.

16                (Laughter.)

17                MR. FRANCISCO:  And I completely agree, Your

18    Honor, which is why in our proposed instruction ­­

19                JUSTICE BREYER:  That won't do it.  The one

20    you just read won't do it.

21                MR. FRANCISCO:  Well ­­ well, and that's why

22    in our proposed instructions, I think it needs to be

23    tailored further to the facts of the case.  So in our

24    case we went on to say ­­ say merely arranging a

25    meeting, attending an event, hosting a reception, or


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                                                                         19
  1   making a speech are not standing­alone "official acts."

  2   Either you use it ­­

  3               JUSTICE BREYER:  All right.  So you use

  4   that.  The key to the word in there is "merely."

  5               MR. FRANCISCO:  Yes, Your Honor.

  6               JUSTICE BREYER:  Because sometimes it could.

  7               MR. FRANCISCO:  Yes, Your Honor.

  8               JUSTICE BREYER:  And somebody might have the

  9   embarrassing question, merely when it can or merely when

10    it can't.  Give me a little enlightenment.

11                MR. FRANCISCO:  Your Honor, I think that the

12    answer is, if ­­ if the evidence shows that there was ­­

13    and I hate to go back to the word that I ­­ I know you

14    don't like here, but if the evidence shows that there

15    really wasn't attempt ­­ an attempt to try to push the

16    separate decisionmaker that you're supposedly trying to

17    influence one way or another, but you really are just

18    sending it over for a meeting, and ­­ and that

19    independent decisionmaker is left to their independent

20    judgment, then you haven't crossed that line.  But if ­­

21                JUSTICE KAGAN:  Mr. ­­

22                JUSTICE GINSBURG:  The word ­­ the word that

23    Justice Breyer is concerned about comes from Birdsall,

24    with intent to influence their "official action."  So we

25    can hardly fault the district judge for using in Ring


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                                                                         20
  1   the same words that this Court used in Birdsall.

  2               MR. FRANCISCO:  I ­­ I agree, Your Honor.  I

  3   thought that Judge Huvelle did a very good attempt at

  4   defining, because she actually went further than what I

  5   just read to you, Justice Breyer.  She continues along

  6   the lines that we proposed in our instructions that,

  7   quote, "Mere favoritism as evidenced by a public

  8   official's willingness to take a lobbyist's telephone

  9   call or to meet with the lobbyist, is not an 'official

10    act.'"

11                So I think that the idea is, Your Honor ­­ I

12    understand, Justice Breyer, that influence itself

13    doesn't totally solve the problem.  But what district

14    court judges do is they then explain to the jury what

15    they mean by influence, and influence is not ­­

16                JUSTICE KENNEDY:  Where can we find the best

17    definition, in your view, of an "official act"?

18                MR. FRANCISCO:  Your Honor, I think that the

19    best definition of an "official act" is ­­ is

20    essentially the one that I tried to articulate at the

21    outset.  You need ­­ you need to either make a decision

22    on behalf of the government, or try in some way to use

23    your influence to pressure or urge or persuade or cajole

24    someone else who has governmental power to make a

25    decision on an action.


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                                                                         21
  1               JUSTICE KENNEDY:  Well, I ­­

  2               JUSTICE KAGAN:  Can I ­­

  3               JUSTICE KENNEDY:  I agree with Justice

  4   Breyer.  I just don't see the limiting principle in the

  5   second part.

  6               MR. FRANCISCO:  Your Honor, I think in many

  7   ­­ in some cases, I think the limiting principle might

  8   be difficult; it's not a perfect and precise

  9   formulation.  But I think in this case it's a

10    particularly easy principle, because here the jury

11    wasn't given any instruction on the line at all.

12                So Justice Breyer, in your hypothetical,

13    sending that letter over is an "official act" under the

14    instructions as given and under the theory pushed by the

15    Solicitor General's office in this case because it is

16    the action ­­

17                JUSTICE KENNEDY:  I'm ­­ I'm not sure ­­ I'm

18    not sure that's right.  It seemed to me the "official

19    act" is exercise of governmental power to require

20    citizens to do or not to do something, or to shape the

21    law that can ­­ that governs their conduct.

22                MR. FRANCISCO:  I ­­ I completely agree with

23    you, Justice Kennedy.

24                JUSTICE KENNEDY:  Under your view, under the

25    hypotheticals that have been thrown around, the janitor


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                                                                         22
  1   who gets the bottle of beer in order to clean your

  2   classroom first, I mean, is that ­­ is that a

  3   governmental act?

  4               MR. FRANCISCO:  Certainly not in my view,

  5   but the government ­­

  6               JUSTICE KENNEDY:  Well, what's the

  7   difference?

  8               MR. FRANCISCO:  The difference is, one ­­

  9   one is you're exercising power on behalf of the

10    government as a whole.  So the janitor, for example, if

11    he's buying ­­ if he's using government money to buy

12    janitorial supplies and engaging in government

13    contracting, that's an exercise of governmental power.

14    If you're simply cleaning out a classroom, I don't think

15    you're exercising government power.

16                So, too, when you simply send somebody to

17    another official for an independent and objective

18    decision by that official, but you don't try to put your

19    thumb on the scales of that decision, you haven't

20    crossed the line.

21                And I think it's very important in a

22    criminal statute like this, because if you really do

23    think that a referral, just simply making a referral, is

24    "official action" that crosses the line into bribery, I

25    think you do have some very serious vagueness concerns


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                                                                         23
  1   with the Hobbs Act and on a services question ­­

  2               JUSTICE KAGAN:  Can I ask ­­

  3               CHIEF JUSTICE ROBERTS:  Sure ­­ sure.  It

  4   depends on who's making the referral or the call, right?

  5   In Justice Breyer's hypothetical, if it's a

  6   congressperson calling somebody and saying, could you

  7   look into this matter for my constituent, the person

  8   should look at it, I suppose, and then ­­ and that's one

  9   thing.  If it's the President who calls and says, I want

10    you to look at this matter for my constituent, that

11    might exercise considerably more influence.

12                MR. FRANCISCO:  Two things, Your Honor.

13    First, you still do need to tell the jury that that's

14    what they have to find.  And here, the jury was never

15    told in any way, shape or form that they had to find an

16    attempt to influence.  So I think that is sufficient, in

17    and of itself, to, at the very least, require a new

18    trial here.

19                Under these instructions, as the government

20    itself seems to agree, any action within the range of

21    official duties constitutes official governmental

22    action.

23                So Justice Kennedy, in the letter being sent

24    over from a senator, since that is within the range of

25    official duties, that counts under the government's


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                                                                         24
  1   formulation, and under the jury instruction as given,

  2   since it is, after all, a settled practice of officials

  3   to send these kinds of letters.  That's why it was

  4   incumbent upon the district court to draw some kind of

  5   limit.

  6               And here, the jury could well have agreed

  7   with us that even though he was the governor of the

  8   State, Mr. Chief Justice, he did not try to influence

  9   the actual decision.  He simply made the same type of

10    referral that he made day in and day out during this

11    administration where he simply sent a constituent to the

12    appropriate official ­­

13                JUSTICE KAGAN:  Mr. Francisco ­­

14                MR. FRANCISCO:  ­­ to exercise appropriate

15    judgment.

16                JUSTICE KAGAN:  ­­ if ­­ you said something

17    before, and I might have misunderstood you.  But do you

18    think that ­­ of the five listed "official acts," do you

19    think none of them meet the standards that you're

20    suggesting, or do you think some of them do and some of

21    them don't?

22                MR. FRANCISCO:  Two answers.  First of all,

23    we don't think that any of them meet the standard.

24                JUSTICE KAGAN:  Okay.  So let me ­­

25                MR. FRANCISCO:  But secondly ­­


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                                                                         25
  1               JUSTICE KAGAN:  Go ahead, please.

  2               MR. FRANCISCO:  But secondly, the jury could

  3   have agreed with us on that, given the evidence we put

  4   further.  And therefore, the erroneous instruction was

  5   critical to this case, because even if they had agreed

  6   with us, they would have been required to convict under

  7   that erroneous instruction since ­­ take the healthcare

  8   leaders reception.  They could have concluded that that

  9   was an "official act" and that was the only basis to

10    convict, and they could have agreed with our evidence on

11    everything ­­

12                JUSTICE KAGAN:  Okay.  That ­­ that might be

13    right.  It might be that ­­ that you still have a ­­ a

14    winning argument even if some of the five are fine.

15    But ­­ but if we could just focus on them for a bit.  I

16    mean, for example, the third one ­­

17                JUSTICE KENNEDY:  They're ­­ they're at page

18    60 of the ­­

19                JUSTICE KAGAN:  The 6091.

20                JUSTICE KENNEDY:  Middle of the appendix.

21                JUSTICE KAGAN:  Contacting other officials

22    to influence Virginia State researchers to initiate

23    clinical studies.  So that's the one that seems to me to

24    really fall within your own definition.  Do you disagree

25    with that?


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                                                                         26
  1               MR. FRANCISCO:  Your Honor, I don't.  And if

  2   they had actually proved what was said in the indictment

  3   in the case, I think that this would be a ­­ we'd be

  4   making a different argument here.  But the problem is,

  5   they didn't prove that Governor McDonnell tried to

  6   encourage anybody.  The one ­­

  7               JUSTICE KAGAN:  So on something like that,

  8   your argument is a sufficiency argument?

  9               MR. FRANCISCO:  Yes, Your Honor.

10                JUSTICE KAGAN:  Rather than this was ­­ this

11    is not an "official act"?

12                MR. FRANCISCO:  And ­­ and ­­ yes, Your

13    Honor.  To be clear, we have two separate arguments

14    here.  One is on the jury instructions where our

15    argument is that even if they agreed with all of our

16    view of the facts, they still would have been required

17    to convict, given these erroneous jury instructions.

18                And secondly, our second argument is the

19    sufficiency argument.  Even a properly instructed jury,

20    in our view, could not have concluded that Governor

21    McDonnell crossed that line.

22                JUSTICE KENNEDY:  Well, just to be clear,

23    you ­­ you said at the outset you don't think any of

24    these are "official acts," but then I thought I heard

25    you say that, third, contacting other government


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                                                                         27
  1   officials as part of an effort to encourage State

  2   research is not an "official act"?

  3               MR. FRANCISCO:  That's the indictment, Your

  4   Honor.  If they had actually proved what was ­­

  5               JUSTICE KENNEDY:  What was ­­ Justice Kagan

  6   is asking, is that an "official act"?

  7               MR. FRANCISCO:  If it actually ­­

  8               JUSTICE KAGAN:  If it's true, but ­­

  9               MR. FRANCISCO:  If he had tried to

10    encouraged them to do it, yes.  If they had proved that

11    he had tried to encourage them to do that, that would

12    have been an "official act."

13                Our argument is that, first, the jury was

14    never properly instructed on that question; and second,

15    he never did in fact urge university researchers to do

16    anything.

17                And if I could just conclude, before

18    reserving the remainder of my time for rebuttal, at the

19    one event where he actually had direct contact with the

20    university researchers, Justice Kagan, this was the

21    luncheon held at the mansion.  The ­­ all of the

22    witnesses who were there actually testified as to two

23    things with respect to the Governor.

24                First, he simply asked neutral questions

25    that didn't try to push the researchers' decisions one


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  1   way or another.  And secondly, the one time Jonnie

  2   Williams asked him for something, support before Tobacco

  3   Commission funding, he gave Jonnie Williams a very

  4   polite no.

  5               Mr. Chief Justice, if I could reserve my

  6   time.

  7               CHIEF JUSTICE ROBERTS:  Thank you, counsel.

  8               Mr. Dreeben.

  9              ORAL ARGUMENT OF MICHAEL R. DREEBEN

10                     ON BEHALF OF RESPONDENT

11                MR. DREEBEN:  Thank you, Mr. Chief Justice,

12    and may it please the Court:

13                Petitioner seeks a categorical carve­out

14    from the concept of an "official act" for things like

15    meetings, phone calls, events, that, in his view, do not

16    further or advance or attempt to influence a particular

17    government action, but simply provide somebody with

18    access to the government.

19                CHIEF JUSTICE ROBERTS:  Well, he's not ­­

20    he's not the only one.  One ­­ there's an extraordinary

21    document in this case, and that's the amicus brief filed

22    by former White House counsel to President Obama, former

23    White House counsel to President George W. Bush, former

24    White House counsel to President Clinton, former White

25    House counsel to George H.W. Bush, former White House


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                                                                         29
  1   counsel to President Reagan.  And they say, quoting

  2   their brief, that "if this decision is upheld, it will

  3   cripple the ability of elected officials to fulfill

  4   their role in our representative democracy."

  5               Now, I think it's extraordinary that those

  6   people agree on anything.

  7               (Laughter.)

  8               CHIEF JUSTICE ROBERTS:  But ­­ but to agree

  9   on something as sensitive as this and to be willing to

10    put their names on something that says this ­­ this

11    cannot be prosecuted conduct.  I think is extraordinary.

12                MR. DREEBEN:  It may be extraordinary, Mr.

13    Chief Justice, but that doesn't make it correct.  I

14    think it rests on several fundamental misconceptions

15    about what government actually does.  And I think it's

16    important to pause and look at the implications of what

17    Petitioner's pay­to­play theory of government really is;

18    that people can pay for access, that they can be charged

19    to have a meeting or have a direction made to another

20    government official to take the meeting.

21                It would mean, in effect, that if somebody

22    came to me and said, you know, I know you're having a

23    lot of college tuition issues.  We can help you with

24    that.  The criminal division is not giving us a meeting

25    on whether to appeal a case.  Just call them and see if


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                                                                         30
  1   you can get them to take the meeting.  And I don't

  2   know ­­

  3               CHIEF JUSTICE ROBERTS:  You're ­­

  4               JUSTICE KENNEDY:  I don't know ­­

  5               CHIEF JUSTICE ROBERTS:  It's ­­ it's

  6   somebody in the government whose client comes to them

  7   and says, we'd really like the Solicitor General's

  8   Office to file a brief in our case.  And then that

  9   person calls you up and says, can you meet with

10    so­and­so?  All he wants to do is sit down with you and

11    persuade you why you should file a brief supporting his

12    case.

13                MR. DREEBEN:  But getting in the door, Mr.

14    Chief Justice, is one of the absolutely critical things.

15                CHIEF JUSTICE ROBERTS:  So is your answer,

16    yes, that that's a felony?

17                MR. DREEBEN:  If somebody pays me ­­

18                CHIEF JUSTICE ROBERTS:  No, no.  That's the

19    quid ­­ that's the quid side of it.

20                MR. DREEBEN:  Yes.

21                CHIEF JUSTICE ROBERTS:  I'm talking about

22    the pro side in the quid pro quo.

23                MR. DREEBEN:  Taking a meeting, yes, I think

24    taking a meeting is absolutely government action.

25                JUSTICE KENNEDY:  So if ­­ so if the


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                                                                         31
  1   President gives special access to high­dollar donors to

  2   have meetings with government officials, that is a

  3   felony?

  4               MR. DREEBEN:  Certainly not, Justice

  5   Kennedy.  And I ­­

  6               JUSTICE KENNEDY:  Why certainly not?

  7               MR. DREEBEN:  Because the critical issue

  8   there is whether the government can prove a quid pro

  9   quo.  And now we're moving into the realm of campaign

10    contributions, where this Court has given very strict

11    guidance about when a jury ­­

12                JUSTICE BREYER:  It's not a campaign

13    contribution.  What it is, is he takes him to lunch, and

14    an expensive lunch at that.  Okay?  Because the quid

15    side is not limited.  The government has argued

16    continuously that in for a penny, in for a pound.  Okay?

17    So we don't have the limitation on the quid side.  We

18    have a possible limitation in frame of mind.

19                And now we're looking to the quo side.  And

20    you want to remove any limitation there.  Okay?

21                Now, why do I think that's a problem?  Two

22    very fundamental reasons.  And it's not because I'm in

23    favor of dishonest behavior.  I'm against it.  And we

24    have just listed some that is dishonest.  My problem is

25    the criminal law as the weapon to cure it.  And if the


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                                                                         32
  1   criminal law is the weapon that goes as far as you want,

  2   there are two serious problems.  One, political figures

  3   will not know what they're supposed to do and what

  4   they're not supposed to do, and that's a general

  5   vagueness problem.

  6               And the second is, I'd call it a separation

  7   of powers problem.  The Department of Justice in the

  8   Executive Branch becomes the ultimate arbiter of how

  9   public officials are behaving in the United States,

10    State, local, and national.  And as you describe it, for

11    better or for worse, it puts at risk behavior that is

12    common, particularly when the quid is a lunch or a

13    baseball ticket, throughout this country.

14                Now, suddenly, to give that kind of power to

15    a criminal prosecutor, who is virtually uncontrollable,

16    is dangerous in the separation of powers since.  So in

17    my mind ­­ right in this case, nothing to do with this

18    Petitioner, nothing to do with him, but in this case, is

19    a ­­ as fundamental a real separation of ­­ of powers

20    problem as I've seen.

21                And ­­ and I'm not quite certain what the

22    words are.  They won't be perfect.  They will leave some

23    dishonest conduct unprosecuted.  They won't be perfect.

24    They will put some politicians at risk.  But I'm

25    searching for those words because, as I said, this is a


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                                                                         33
  1   very basic separation of powers problem for me.

  2               MR. DREEBEN:  So ­­

  3               JUSTICE BREYER:  I appreciate your help on

  4   what the right words are, and I'll tell you right now if

  5   those words are going to say when a person has lunch and

  6   then writes over to the antitrust division and says, I'd

  7   like you to meet with my constituent who has just been

  8   evicted from her house, you know, if that's going to

  9   criminalize that behavior, I'm not buying into that, I

10    don't think.

11                So ­­ so I want some words that will help

12    with what I see as as knotty and complicated and

13    difficult and basic a problem as I can think of.

14                MR. DREEBEN:  Justice Breyer, let me first

15    argue the position that I came here to argue, which is

16    that "official action" is not limited by some arbitrary

17    litmus test that was proposed by Petitioner that would

18    exclude things that he calls "access."  I don't think

19    that that's the right way to look at it.  I think that

20    the right way to look at this statute is to recognize

21    that it has multiple elements.  We're talking about

22    multiple statutes.  But the bribery offense has very

23    similar elements.

24                You first have to decide whether someone is

25    engaging in an "official act."  Merely going to lunch is


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                                                                         34
  1   not engaging in an "official act."  There are

  2   opportunities to engage ­­

  3               JUSTICE BREYER:  No, no one said it is.  The

  4   lunch with the Chateau Lafite wine happens to be the

  5   quid, and ­­ and that's worth, like, a thousand dollars,

  6   or 500, anyway.  I don't go to those restaurants

  7   anymore.

  8               (Laughter.)

  9               MR. DREEBEN:  Justice Breyer ­­

10                JUSTICE BREYER:  But ­­ but you understand

11    that ­­

12                MR. DREEBEN:  ­­ I ­­ I don't ­­ I don't

13    go ­­

14                JUSTICE BREYER:  ­­ side.  It's the other

15    side of the equation.

16                MR. DREEBEN:  I understand, Justice Breyer.

17    But what ­­ I would think it would be helpful for the

18    Court if I could lay out the multiple elements that are

19    at issue here because "official act" does not have to do

20    all the work.  You do have to have somebody engaged in

21    their official capacity.  You then have to have

22    something that they do within their range of official

23    duties, which going to lunch is not going to be.

24                Third, you need a quid pro quo, which means

25    that the government is going to have to show that the


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                                                                         35
  1   person allowed themselves to be influenced in their

  2   conduct by the thing of value that they received, which

  3   is to say that somebody is basically saying, I'm going

  4   to make a referral over to another agency for you only

  5   if you buy me lunch.  That is not honorable behavior,

  6   and there are ­­

  7               JUSTICE BREYER:  Of course it isn't.

  8               MR. DREEBEN:  ­­ many regulations that carve

  9   out permissible gift situations and create the fourth

10    element issue that I think is an important protection,

11    which is mens rea.

12                JUSTICE KENNEDY:  But the problem is, and as

13    you set forth in your brief correctly, you can imply an

14    agreement over time.  You can imply a contract over

15    time.  And if the lunch takes place first and there's ­­

16    there's no precondition on the lunch, but after the

17    lunch there is wink­wink, nod­nod, and the contact takes

18    place, it's clear in the standard criminal law that

19    there is a conspiracy there.

20                MR. DREEBEN:  So I agree with you ­­

21                JUSTICE KENNEDY:  We're in agreement.

22                MR. DREEBEN:  I do agree with you, Justice

23    Kennedy.  I think that's exactly the position that Your

24    Honor's opinion in Evans, the separate concurrence,

25    explained as a proper means of administering the quid


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                                                                         36
  1   pro quo requirement as an intent to issue in a criminal

  2   case.  There is a very critical protection here.  It's a

  3   requirement of showing something beyond a reasonable

  4   doubt to a jury.  And if you have ordinary conduct

  5   that's fully disclosed and in accordance with

  6   regulations which do strictly limit when people can

  7   receive lunches ­­

  8               JUSTICE ALITO:  I don't see what the

  9   relevance of those regulations is.  You say ­­ you say

10    there were certain safe harbors created by Federal

11    regulations.  Those apply to Federal employees and

12    Federal officers.  What do they have to do with a

13    Governor of a State or a State employee?

14                MR. DREEBEN:  Well, they don't, Justice

15    Alito.  This case has been litigated on the submission

16    that Section 201 informed the meeting of "official

17    action" for purposes of the Hobbs Act and the honest

18    services statute.  And as a result, the parties have

19    engaged very heavily on the effect on Federal officials.

20    And I think that Justice Breyer's question was primarily

21    directed at them.

22                I do think that there are different issues

23    that arise with respect to State officials, but the mens

24    rea requirements that I've been talking about are going

25    to be fully applicable ­­


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                                                                         37
  1               JUSTICE BREYER:  Yeah, but how ­­ but you're

  2   asking ­­

  3               JUSTICE KENNEDY:  But then this ­­ this

  4   doesn't answer Justice Breyer's basic question and ours.

  5   You're going to tell the Senators, the officials with

  6   the lunches, that, don't worry.  The jury has to be

  7   convinced beyond a reasonable doubt, and that's tough.

  8               (Laughter.)

  9               MR. DREEBEN:  Well ­­

10                JUSTICE KENNEDY:  That was your answer.

11    That was your answer.

12                MR. DREEBEN:  Justice Kennedy, I do think

13    that the requirements of the criminal law in proving

14    something by beyond a reasonable doubt are a substantial

15    ­­

16                JUSTICE BREYER:  What is it they're trying

17    to prove?  Now, of course, this is a State case, not a

18    Federal case.  It's a State official ­­ it's a Federal

19    law but a State official.  I don't know.  I've only been

20    peripherally involved in political campaigns, but my

21    peripheral convinces me that a candidate will go out and

22    he'll have lunch with hundreds of people, hundreds.

23    Everybody wants to give him lunch.  Great.  And ­­ and

24    he wants to meet as many people as possible.  He wants

25    to be friendly.  He might receive a raincoat.  He might


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  1   receive all kinds of things.  And at some point, it

  2   becomes very dishonest.

  3               MR. DREEBEN:  So ­­

  4               JUSTICE BREYER:  But that's a matter for

  5   campaign laws.

  6               Wait.  Now, I've also been involved in the

  7   Justice Department.  And we would receive many, many

  8   letters in the antitrust division.  Have you looked into

  9   such and such?  I know perfectly well that that Senator

10    just wants to go back to the constituent and say, see, I

11    did my best.  That's all.

12                Now, you're saying to the jury, take those

13    facts I just gave you, and you look into the state of

14    mind ­­ the state of mind of which the amounts being

15    given will be somewhat indicative, of which the nature

16    of the letter will be somewhat indicative, of whether he

17    writes in personal writing at the bottom will be

18    somewhat indicative, and we're going to let you 12

19    people work out what was really in that Senator's mind.

20    I say that is a recipe for giving the Department of

21    Justice and the prosecutors enormous power over elected

22    officials who are not necessarily behaving honestly.

23                And I am looking for the line.  I am looking

24    for the line that will control the shift of power that I

25    fear without allowing too much honesty through this law.


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  1   You know, other laws exist on the other side.

  2               MR. DREEBEN:  Well, Justice ­­

  3               JUSTICE BREYER:  That ­­ that's what I want

  4   your view on.

  5               MR. DREEBEN:  Justice Breyer, I'm going to

  6   push back, because I think that the line that Petitioner

  7   has urged is one that is a recipe for corruption, not a

  8   recipe for drawing a safe harbor for public officials.

  9               What he has basically urged the Court to

10    hold is that paying for access, if somebody does not put

11    a thumb on the scale of decision ­­ if I, for example,

12    tell the criminal division, take the meeting, make

13    whatever recommendation is in your best judgment, just

14    take the meeting, I can take money for that.  And I

15    think the message that would be sent, if this Court put

16    its imprimatur on a scheme of government in which public

17    officials were not committing bribery when all they did

18    was arrange meetings with other governmental officials,

19    without putting, in his metaphorical way, a thumb on the

20    scales of the ultimate decision, would send a terrible

21    message to citizens.  What ­­

22                JUSTICE ALITO:  Well, what I think we're

23    looking for is some limiting principle.  Now, you ­­ you

24    started to say something about campaign contributions ­­

25                MR. DREEBEN:  Correct.


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                                                                         40
  1               JUSTICE ALITO:  ­­ and I know that this case

  2   doesn't involve campaign contributions.  But certainly a

  3   campaign contribution can be the quid, can it not?

  4               MR. DREEBEN:  Certainly.

  5               JUSTICE ALITO:  All right.  Well, gaining

  6   access by making campaign contributions is an everyday

  7   occurrence.  And maybe it's a bad thing, but it's very

  8   widespread.  How does it ­­ how does that play out?

  9               MR. DREEBEN:  So, Justice Alito, gaining

10    access and ingratiation and gratitude as a result of

11    campaign contributions is not a crime.  When it's done

12    as a quid pro quo, it is.  And that is not the ­­

13                JUSTICE BREYER:  That's ­­

14                MR. DREEBEN:  That is not the ­­

15                JUSTICE BREYER:  That's what I want, your

16    view.

17                MR. DREEBEN:  That is not my view, Justice

18    Breyer.

19                JUSTICE BREYER:  But, I mean ­­

20                JUSTICE ALITO:  Mr. Dreeben, if I could just

21    follow up on that.

22                If a ­­ a Senator writes to a Federal agency

23    and says, this union or this company is, you know,

24    critical to the economy of my State, and, by the way ­­

25    he doesn't say this, but, by the way, they are the


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                                                                         41
  1   biggest contributors to his campaign ­­ would you please

  2   meet with them?  What would not make that a crime?  The

  3   fact that the jury might not find beyond a reasonable

  4   doubt that the reason why he was urging this meeting was

  5   because these people, this entity, happened to be a very

  6   big supporter?  That would be the only thing separating

  7   lawful from unlawful conduct there?

  8               MR. DREEBEN:  Well, let ­­ let me say two

  9   things in response to that.  First, this Court has

10    addressed that very issue in the McCormick case.  And it

11    is established that merely taking favorable action at or

12    around the time of the receipt of campaign contributions

13    is not sufficient to show a quid pro quo and is not a

14    crime.

15                Nobody doubts that if there's a quid pro quo

16    for a vote, something that I think Mr. Francisco is

17    prepared to concede is "official action," although I'm

18    not sure why since it doesn't personally exercise

19    sovereign power if a legislator casts vote as a

20    dissenting vote from a majority action.  But nobody

21    disputes that that is a crime.  Therefore, this Court

22    has already carved out evidentiary and instructional

23    safeguards that prevent against a jury inferring a quid

24    pro quo merely from the coincidence of timing.

25                But I want to come back to something that is


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  1   even more fundamental, and that is the role of the First

  2   Amendment in this case.  Because Petitioner has sought

  3   to wrap himself in the mantle of the First Amendment,

  4   probably because the gifts that he received have nothing

  5   to do with the First Amendment; they have to do with

  6   personal loans and luxury goods.

  7               This is not a case about campaign

  8   contributions.  But when campaign contributions are at

  9   issue, he relies very heavily on Citizens United while

10    ignoring a critical piece of Citizens United.

11                This Court, in Citizens United, looked back

12    to the circumstances that prompted the Federal Election

13    Campaign Act in 1972, and those involve circumstances

14    that were delineated in the Buckley decision in the

15    court of appeals.

16                And the Court specifically cited to those

17    practices.  And what were those practices?  They

18    involved the American milk producers paying $2 million

19    in campaign contributions, spread out among a variety of

20    committees, to get a meeting at the White House.  That's

21    all they did.  They said, in order to gain a meeting

22    with White House officials on price supports, they paid

23    that money.

24                Other corporate executives testified that

25    paying money was a calling card, something that would


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  1   get us in the door and make our point of view heard.

  2   And this Court said, on page 356 of the Citizens United

  3   opinion, "The practices Buckley noted would be covered

  4   by the bribery laws, CEG 18 U.S.C. 201, if a quid pro

  5   quo arrangement were proved."

  6               Now, of course, it's very difficult to prove

  7   a quid pro quo arrangement, and that's why there are

  8   campaign finance limitations on contributions to

  9   candidates.  But the Court had no doubt that paying for

10    access was a criminal violation.  And so ­­

11                CHIEF JUSTICE ROBERTS:  So ­­

12                MR. DREEBEN:  And that's what ­­

13                CHIEF JUSTICE ROBERTS:  ­­ if you have a

14    governor whose priority is jobs for his State, and

15    there's a CEO who's thinking about locating a plant in

16    his State, but he can only do it, he says, if he gets

17    tax credits from the State.

18                So the governor is talking to him, and he

19    says, look, why don't you come down to my, you know,

20    trout stream and we'll go fishing and we'll talk about

21    this.  And the governor does that.  He has a nice day

22    fishing for trout, and they talk about whether they can

23    get tax credits, deferred taxes if the CEO opens his

24    plant in the State.  Now, is that a felony, because

25    he's ­­


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  1               MR. DREEBEN:  I ­­

  2               CHIEF JUSTICE ROBERTS:  ­­ accepted an

  3   afternoon of trout fishing, and he discussed official

  4   business at that time?

  5               MR. DREEBEN:  I don't think so, Mr. Chief

  6   Justice, but if you change the hypothetical and said

  7   instead of an afternoon of trout fitting ­­ fishing,

  8   I'll fly you out to Hawaii and you and your family can

  9   have a vacation, and during that time we can go over my

10    policy ­­

11                CHIEF JUSTICE ROBERTS:  But I thought ­­ I

12    didn't think the government put any weight on the amount

13    of the quid; in other words, you know ­­ okay.  I don't

14    know how much an afternoon of trout fishing is worth,

15    but I ­­ I gather you get ­­ you can be charged for that

16    and ­­ and pay for it.

17                I thought that didn't matter.  I thought it

18    was whether he was engaged in an "official act" under

19    circumstances in which a jury could find he did it

20    because of the gift.

21                MR. DREEBEN:  Yes.

22                CHIEF JUSTICE ROBERTS:  And ­­ and so if all

23    he's doing is talking about ways to get jobs for

24    Virginia, and he's talking with the person who's going

25    to make that decision from the private sector, based in


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  1   part on whether or not he gets, you know, tax credits,

  2   it would seem to me that under your definition, that

  3   governor is guilty of a felony.

  4               MR. DREEBEN:  I'm not sure that he is guilty

  5   of a felony.  But the reason why I changed the

  6   hypothetical to involve a larger quid is because the

  7   implications of carving something out from "official

  8   action" mean that it can be sold, and that it's lawful

  9   to be sold.  And when you change the trout fishing to a

10    trip to Hawaii, it becomes more nefarious, and the

11    message that it sends to citizens is ­­

12                JUSTICE BREYER:  But that's the point.  You

13    see, what ­­ exactly what the Chief Justice asked.

14    What's the lower limit, in the government's opinion, on

15    the quid?  What?  Tell me right now.  What ­­ if you're

16    going to say $10,000, okay, I feel quite differently

17    about this.  If you will say an afternoon of trout

18    fishing or et cetera, then I feel quite differently.

19    It's pretty hard to see the conduct being honest if you

20    exempt the campaign contributions and put it up

21    somewhere.  But I didn't think that was the government's

22    position.

23                MR. DREEBEN:  It's not the government's ­­

24                JUSTICE BREYER:  What is the government's

25    position ­­ what ­­ you tell me I'm wrong, in for a


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  1   penny, in for a pound.  You tell me right now it is not

  2   the government's position that the trout fishing

  3   afternoon is sufficient to be a ­­ a quid.  If you say

  4   that, I'll feel differently about the case.

  5               (Laughter.)

  6               MR. DREEBEN:  It's tempting, Justice Breyer,

  7   but I'm not going to ­­

  8               JUSTICE BREYER:  Exactly.

  9               MR. DREEBEN:  ­­ exempt from the corruption

10    laws ­­

11                JUSTICE BREYER:  Okay.

12                MR. DREEBEN:  ­­ certain types of quids.

13    But ­­

14                JUSTICE BREYER:  But now ­­

15                MR. DREEBEN:  ­­ Justice Breyer, you do need

16    to run this through all the elements of the offense.  I

17    think what Petitioner is ­­ is saying, and I think some

18    of the Court's hypotheticals are suggesting the only

19    thing that really you could possibly do to remedy this

20    issue is to shrink the definition of "official action"

21    with no textual basis in 201, nor really, I think, any

22    common sense basis in the way that government actually

23    operates ­­

24                JUSTICE BREYER:  You tell me ­­ that's why I

25    asked you at the beginning.  And you ­­ in order to


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  1   be ­­ you say you're going to push back, and then you

  2   complained about their definition.  If I thought their

  3   definition was so perfect, I wouldn't have asked you.

  4   And ­­ and it's ­­ it's exactly ­­ you do ­­ you tell me

  5   how to do this.  And I'm not ­­ you say it sends a

  6   terrible message.  I'm not in the business of sending

  7   messages in a case like this.  I'm in the business of

  8   trying to figure out the structure of the government.

  9   And that's part of Separation of Powers, and I expressed

10    my concern.

11                MR. DREEBEN:  So I think ­­

12                JUSTICE BREYER:  I dissented in ­­ in

13    Citizens United, so whatever that said there, but ­­

14                (Laughter.)

15                JUSTICE BREYER:  The ­­ the ­­ but the point

16    is the one I raised at the beginning that every single

17    one of us has raised.  We're worried about ­­ because

18    like any other organization, the prosecutors too can be

19    overly zealous.  That can happen.  And so we need some

20    protection on both sides, even though the line won't be

21    perfect.  And it will fail to catch some crooks.  And it

22    will ­­ I mean, I understand that.  And ­­ and I want to

23    know your view.  And it doesn't even ­­ it helps a

24    little, but not a lot, to say, well, meetings.

25                MR. DREEBEN:  So ­­


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  1               JUSTICE BREYER:  That's too specific.  I

  2   want to know what your view is as to the language we

  3   write in discussing the line.

  4               MR. DREEBEN:  Well, I don't think you and I

  5   agree on where the line should be, Justice Breyer.  So

  6   I ­­ I can't write language that is going to satisfy

  7   you.  You weren't even satisfied with Petitioner's

  8   language, which requires that there be influence on some

  9   other governmental decision.  You suggested you thought

10    that was too broad.

11                JUSTICE BREYER:  No, no, no.  Well, yeah,

12    yeah, yeah, yeah.

13                MR. DREEBEN:  You did suggest it.

14                JUSTICE BREYER:  I did ­­

15                (Laughter.)

16                MR. DREEBEN:  I think that it's too narrow.

17    I think that if the Court is going to reject the

18    government's submission, which is that when the governor

19    calls his Secretary of Health and says, take the meeting

20    with my benefactor, he doesn't disclose it's his

21    benefactor.  Take the meeting so that that person can

22    have the preferential opportunity that other citizens

23    who do not pay will have to make his case before you.  I

24    think that is "official action."

25                Petitioner says it's not "official action"


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  1   unless he further sends the message, which I think on

  2   the facts of this case was sent, he's trying to

  3   influence the ultimate outcome.

  4               If the Court is going to reject the

  5   government's position in this case, then I think that a

  6   fallback position for the government is when you have an

  7   indisputed "official action," such as will the

  8   universities of Virginia study a particular product, or

  9   will the Tobacco Commission fund it, then when a public

10    official takes action to direct that decision, to

11    influence that decision, or to advance his benefactor's

12    interests with respect to that decision, that

13    constitutes the crime of bribery.

14                CHIEF JUSTICE ROBERTS:  There ­­ there is ­­

15                MR. DREEBEN:  Now ­­

16                CHIEF JUSTICE ROBERTS:  Given the difficulty

17    that we're having in settling on what these words in the

18    statute mean, there is a ­­ an argument in the

19    Petitioner's brief that you have responded to in yours

20    that the statute is unconstitutionally vague.

21                MR. DREEBEN:  I ­­ I do not think it is

22    unconstitutionally vague.  First of all, we're talking

23    here about multiple statutes.  We're talking about Hobbs

24    Act extortion, which this Court previously construed in

25    both McCormick and Evans to be perfectly valid upon the


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                                                                         50
  1   proof of a quid pro quo when the official asserts that

  2   his action will be controlled by a ­­ a thing of value

  3   that he has received.

  4               And now we're talking about the question of

  5   what constitutes "official action" for the purposes of a

  6   common law crime that goes back centuries and was

  7   incorporated into the Hobbs Act.

  8               We're also talking about the honest­services

  9   statute, which this Court in Skilling just six years ago

10    determined could be construed ­­

11                CHIEF JUSTICE ROBERTS:  Well, yeah.  "Could

12    be construed."  I mean, there were, what, three votes to

13    find it unconstitutional?  And the others say, well, no,

14    because you can narrow it in this way to the core

15    definition of bribery.  And now maybe the ­­ the

16    experience we've had here, and the difficulty of coming

17    up with clear enough instructions suggests that the

18    caution the Court showed at that point was ill­advised.

19                MR. DREEBEN:  Well, I think it would be

20    absolutely stunning if this Court said that bribery and

21    corruption laws, which have been on the books since the

22    beginning of this nation, and have been consistently

23    enacted by Congress to combat both Federal, State, and

24    local corruption ­­

25                JUSTICE KENNEDY:  Would it be ­­


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  1               CHIEF JUSTICE ROBERTS:  And ­­

  2               JUSTICE KENNEDY:  ­­ absolutely stunning to

  3   say that the government has given us no workable

  4   standard?

  5               MR. DREEBEN:  Well, we have given you a

  6   workable standard.  It's the standard that comes from

  7   this Court's 1914 decision in Birdsall, where the Court

  8   said that things that government officials do under a

  9   bribery statute much like this are covered as official

10    action, and they're not limited to things that ­­

11                JUSTICE KENNEDY:  Perhaps what you're

12    talking about is how evil the conspiracy is.  It's not

13    evil to ­­ to fish or to have a bottle of wine, but it

14    is evil if you up the ante.  Is that ­­ is that what

15    you're saying?

16                MR. DREEBEN:  I think what I'm trying to

17    say, Justice Kennedy, is that it's going to be extremely

18    difficult for anyone to really believe that you could

19    buy a Governor's position on a multimillion­dollar tax

20    support for an afternoon of trout fishing.  And that's

21    why those cases don't get brought.  No one thinks about

22    them.  It's not really even clear there is a quid pro

23    quo for ­­

24                JUSTICE KAGAN:  Can I ask you a narrower

25    question, Mr. Dreeben?


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  1               So one of the "official acts" here ­­ I'll

  2   just read it to you.  It's allowing Jonnie Williams to

  3   invite individuals important to Star Scientific's

  4   business to exclusive events at the Governor's Mansion.

  5               MR. DREEBEN:  Yes.

  6               JUSTICE KAGAN:  So that's essentially

  7   hosting a party and allowing Mr. Williams to invite some

  8   people.  And why does that ­­ why is that an "official

  9   act," in your view?

10                MR. DREEBEN:  So, Justice Kagan, it wasn't

11    hosting an official party.  We're talking about here two

12    events.  One was a product launch hosted at the

13    Governor's Mansion where the Governor is basically

14    giving his credibility to a brand­new product.  And the

15    invitations were critical to Jonnie Williams' plan to

16    sign up the universities to do the studies.  He got to

17    pick ­­

18                JUSTICE KAGAN:  So here's, I guess ­­ I

19    mean, I guess, my question is this:  The ­­ the

20    "official act," the statute, the definition, I mean,

21    requires that there be some particular matter, cause,

22    suit, proceeding, or controversy, correct?

23                MR. DREEBEN:  Yes.

24                JUSTICE KAGAN:  And if I understand the

25    theory of this case, the matter, suit, cause,


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  1   proceeding, or controversy here is the attempt to get

  2   the University of Virginia to do clinical studies of

  3   this product; is that correct?

  4               MR. DREEBEN:  It's narrower than our whole

  5   scope of the charge, but it's essentially correct.

  6               JUSTICE KAGAN:  That's the gravamen of the

  7   thing?

  8               MR. DREEBEN:  Correct.

  9               JUSTICE KAGAN:  So if you had just ­­ if ­­

10    if the indictment, and then the instructions that were

11    based on the indictment, had said the "official act" is

12    getting the University of Virginia to do clinical

13    studies, right, that reads very differently from the way

14    this indictment was structured.  Because what this

15    indictment does is it takes a lot of different pieces of

16    evidence that might relate to that "official act" and

17    charges them as "official acts" themselves, so that the

18    party becomes an "official act" or calling somebody just

19    to talk about the product becomes an "official act."  Do

20    you see what I mean?

21                I mean, you know, this might have been

22    perfectly chargeable and instructable, but I guess

23    I'm ­­ I'm troubled by these particular charges and

24    instructions, which seems to make every piece of

25    evidence that you had an "official act," rather than


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  1   just saying the "official act" was the ­­ was the

  2   attempt to get the University of Virginia to do

  3   something that they wouldn't have done otherwise.

  4               MR. DREEBEN:  So, Justice Kagan, what the

  5   crime was here was the Governor accepting things of

  6   value in return for being influenced and taking

  7   "official actions" to legitimize, promote, and secure

  8   research studies for Anatabloc and Star's products.

  9   That's at Supplemental JA 14.

10                It then alleges that he would do this as

11    opportunities arose in the course of his official

12    actions.  And because he's the Governor and he has a

13    tremendous amount of influence throughout the

14    government, he appoints all the board of visitors of VCU

15    and UVA.  He sets the budget.  They know that he's an

16    important guy.  He has lots of opportunities to do this

17    in different ways over time.

18                And if you look at the pattern of what he

19    did, directing people to meet with Star's

20    representatives, arranging events at the mansion in

21    which Star could bring together its chosen guest list,

22    the doctors who it wanted to influence with the Star

23    people who were trying to influence it, the Governor is

24    taking every step he can do short of saying to UVA, do

25    the studies, which his chief counsel told him would be


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  1   inappropriate and wasn't going to do.

  2               So I ­­ I think that if you look at the

  3   indictment the way that it's actually structured, it

  4   talks about a person who, as opportunities arose, was

  5   going to engage in "official acts."  This is a theory of

  6   corruption that Justice Sotomayor's opinion in Ganim in

  7   the Second Circuit validated, and it was cited in

  8   Skilling as a perfectly valid theory of corruption.

  9               And, therefore, the individual "official

10    acts" really form a composite window into Petitioner's

11    mind.  Did he intend to allow his official conduct to be

12    controlled by the things of value that he received?  And

13    taking them all together, even if the Court has trouble

14    with any individual one, they allowed a rational jury to

15    inference that, indeed, he did.

16                And the only way that Petitioner could win,

17    if you agree with me on the sufficiency issue, is if you

18    conclude that jury instructions must exempt certain

19    types of official actions, like directing your Secretary

20    of Health to take a meeting, which is a very kind of

21    significant event in the life of a cabinet member and a

22    governor, or hosting an event at the mansion, can't

23    possibly count, because it somehow should be viewed as

24    social, when, in fact, what the Governor is doing is

25    allowing his benefactor to get all the people in the


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  1   room who he wants to influence to do the studies.

  2               So in my view, there was nothing wrong ­­ if

  3   I can complete the sentence ­­ in the way that the

  4   indictment structured the crime in this case.  The

  5   "official acts" were exemplary.  They were proved, and

  6   the jury could properly find them.

  7               Thank you.

  8               CHIEF JUSTICE ROBERTS:  Thank you, counsel.

  9               Mr. Francisco, five minutes remaining.

10             REBUTTAL ARGUMENT OF NOEL J. FRANCISCO

11                     ON BEHALF OF PETITIONER

12                MR. FRANCISCO:  Thank you, Mr. Chief

13    Justice.

14                I have three basic points I would like to

15    make.

16                First, I'd like to start out with the

17    government's argument that a lot of the problems with

18    its theory are solved by the quid pro quo requirement.

19    Well, in fact, the gratuity statute, the Federal

20    gratuity statute, has the exact same "official act"

21    requirement, but no quid pro quo requirement at all.

22                So what that means is that if you take

23    somebody to a fancy lunch with a ­­ I can't remember the

24    name of the bottle of wine you mentioned, Justice

25    Breyer, but if you took them to that fancy lunch to


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  1   thank them for referring you to a meeting with a

  2   mid­level staffer, even if there was no suggestion at

  3   all that you were going to do anything other than call

  4   that staffer and say, hey, can you take a meeting with

  5   this guy, hear him out, and exercise your independent

  6   judgment, that would be a violation of the Federal

  7   gratuity statute.

  8               And, indeed, under the government's broad

  9   theory that anything within the range of official duties

10    counts, that means that if you took the person out to

11    that lunch as thanks for giving you a tour of the

12    Capitol Building, you would likewise have violated the

13    Federal gratuity statute, because there, there is no

14    quid pro quo requirement at all.

15                Point two, Justice Breyer ­­

16                JUSTICE SOTOMAYOR:  There is a difference

17    between someone saying, thank you for a decision you

18    made independent of the gift ­­ that's the Sun Growers

19    case ­­ and someone buying you an expensive lunch and

20    saying, I'm paying for this lunch, but make sure I get a

21    tour.  You don't see the difference?

22                MR. FRANCISCO:  Not under the Federal

23    gratuity statute, Your Honor, because the Federal

24    gratuity statute is meant to prohibit thanking somebody

25    for giving you an "official act."  And so if an


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  1   "official act" is, in fact, a tour of the Capitol

  2   Building or a meeting with a staffer, then you have, in

  3   fact, violated the Federal gratuity statute when you

  4   take them to lunch as a thanks for that particular act.

  5               Second point, Justice Breyer, in trying to

  6   figure out the right verbal formulation, the first point

  7   I'd like to make is, if we can't figure out a proper

  8   verbal formulation, then I think there are some ver

  9   serious vagueness problems with the statute ­­

10                JUSTICE BREYER:  It's Birdsall.

11                JUSTICE SOTOMAYOR:  You ­­

12                JUSTICE BREYER:  It's Birdsall.  Look, I

13    can ­­ I've read the Brown Commission Report.  I've read

14    the Model Penal Code.  I've read all these efforts to

15    get language.  And I've looked at the present statute.

16    And I think I can limit that because the statute,

17    itself, seems to cover things like voting and contracts,

18    et cetera.  But it's also true that a person who tries

19    to influence those things has committed bribery.  I

20    think that's correct.

21                MR. FRANCISCO:  And ­­

22                JUSTICE BREYER:  Now, my problem is with

23    Birdsall and how do we write those words so that they do

24    catch people who are doing this dishonest thing without,

25    as I've said five times, allowing the government the


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  1   freedom to go and do these ridiculous cases.

  2               MR. FRANCISCO:  And ­­ and I think the D.C.

  3   Circuit's en banc decision ­­

  4               JUSTICE BREYER:  Not saying this is a

  5   ridiculous one, by the way.

  6               MR. FRANCISCO:  Understood, Your Honor.  I

  7   think that the right answer, you start out with the D.C.

  8   Circuit's decision in Valdes.  You look at that listing

  9   of words ­­

10                JUSTICE BREYER:  Uh­huh.

11                MR. FRANCISCO:  ­­ question, matter, suit,

12    cause proceeding.  And those are actual decisions that

13    the government makes, the government as a whole, as a

14    sovereign.  And then you say, are you making a decision

15    on that, if you're the final decisionmaker, or if you're

16    not the final decisionmaker, but because of your

17    official power, you have the ­­ the ability and the

18    authority to influence other decision­makers, then

19    you're ­­ are you doing that?  Here are two

20    fundamental ­­

21                JUSTICE GINSBURG:  What do you say to

22    Mr. Dreeben's argument that if we read this statute as

23    you are urging, then every government official can say,

24    you want to have a meeting?  Pay me a thousand dollars.

25    The corruption that's inherent in the position that says


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                                                                         60
  1   it's okay to facilitate a meeting, it's okay to say,

  2   I'll do it for you if you pay me a thousand dollars.

  3   That's your view, that that would be okay?

  4               MR. FRANCISCO:  Your Honor, and, frankly,

  5   this was leading to my third point, which is, if there

  6   is absolutely no way that ­­ if there's no indicia that

  7   you're actually trying to influence the outcome, and it

  8   really is just a meeting, yes.  But that reflects the

  9   fact that these broad and vague statutes are not

10    comprehensive codes of ethical conduct.  There are lots

11    of other statutes that would prohibit precisely what you

12    are suggesting, Justice O'Connor, and you don't have to

13    interpret ­­

14                JUSTICE GINSBURG:  That hasn't happened in

15    quite some time.

16                (Laughter.)

17                MR. FRANCISCO:  Justice Ginsburg.  I am

18    very, very, very sorry.

19                (Laughter.)

20                MR. FRANCISCO:  Justice Ginsburg, my

21    apologies.

22                There are lots of other statutes that would

23    prohibit that precise conduct, and you don't need to

24    take statutes like the Hobbs Act and honest­services

25    statute.


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  1               JUSTICE KAGAN:  Well, what would ­­

  2   Mr. Francisco, just take Mr. Dreeben's own example,

  3   which is the example of somebody ­­ he's running a

  4   business, and he's taking $5,000 at a pop every time he

  5   arranges a meeting with the criminal division for

  6   somebody.

  7               MR. FRANCISCO:  Sure.  There is a statute

  8   that prohibits supplementing your public salary with

  9   private money.  So if you're essentially taking outside

10    money for the performance of your official duties,

11    that's illegal.  That was discussed in the Sun­Diamond

12    case.

13                There is another statute that ­­ that

14    prohibits you from doing any ­­ taking anything from

15    anybody whose interests could be substantially affected

16    by the performance or nonperformance of your duties.  So

17    that's another one.  It would prohibit ­­ that would

18    prohibit it.

19                There is another provision of this bribery

20    statute that prohibits you from taking any action, not

21    just "official action" but any action in violation of

22    your official duties.  So I think that might ­­

23                JUSTICE SOTOMAYOR:  Why aren't they any less

24    vague?

25                MR. FRANCISCO:  Excuse me?


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  1               JUSTICE SOTOMAYOR:  Why aren't they any less

  2   vague?  And what you're saying is that holding a

  3   meeting, taking a phone call, having a party is not

  4   illegal, that that is something that you're entitled to

  5   do.  So why would all those statutes be any less ­­

  6               MR. FRANCISCO:  They may well be in certain

  7   circumstances, but I think that the ones that are simply

  8   saying ­­ for example, the civil service statutes that

  9   simply say, you can't take anything from anybody who is

10    a covered person.  That's not vague.  It just says that

11    you can't take anything from anybody who is in your job.

12                Most Federal government officials are very

13    familiar with that.  That's why you really just don't

14    take gifts from anyone.  The problem here is that we had

15    a State regime that was much less stringent than the

16    Federal regime, and the government wanted to use the

17    open­ended Hobbs Act and honest­services statute to fill

18    that gap in what they perceived is the State law.

19                I would respectfully submit that that is an

20    inappropriate use of Federal power.

21                Thank you, Mr. Chief Justice.

22                CHIEF JUSTICE ROBERTS:  Thank you, counsel.

23                Mr. Dreeben, could I invite you to return to

24    the lectern?  Our records reflect that this was your

25    one­hundredth oral argument before the Court.  You are


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  1   the second person to reach that rare milestone this

  2   century.

  3               I distinctly recall your first argument in

  4   January of 1989.  Throughout your career, you have

  5   consistently advocated positions on behalf of the

  6   United States in an exemplary manner.

  7               On behalf of the Court, I extend to you our

  8   appreciation for the many years of advocacy and

  9   dedicated service during your tenure in the Solicitor

10    General's Office and as an officer of this Court.

11                We look forward to hearing from you many

12    more times.  Thank you.

13                The case is submitted.

14                MR. DREEBEN:  Thank you.

15                (Whereupon, at 11:04 a.m., the case in the

16    above­entitled matter was submitted.)

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